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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI

RENA BROWN,                                            )
                                                       )
               Plaintiff,                              )
                                                       )
       v.                                              )       No. 4:17-cv-1094-RLW
                                                       )
CRESCENT BANK & TRUST, INC.,                           )
                                                       )
               Defendant.                              )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, RENA BROWN

(“Plaintiff”), and Defendant, CRESCENT BANK & TRUST, INC., (“Defendant”), through their

counsel, stipulate to dismiss this matter, with prejudice, both sides to bear their own fees and costs.

Therefore, the parties respectfully request this Honorable Court dismiss this case, with prejudice,

both sides to bear their own fees and costs.

                                               Respectfully Submitted,

Dated: December 1, 2017                        /s/ Adam T. Hill
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Dated: December 1, 2017
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                                               /s/ Brendan H. Little
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 1, 2017, I electronically filed the foregoing with the Clerk
of the Court by via the CM/ECF System with electronic service on all those or record.

                                               /s/ Adam T. Hill
                                               Adam T. Hill
